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                      IN THE UNITED STATES DISTRICT COUR T
                     FOR THE SOUTHERN DISTRICT OF GEORGIA-
                               BRUNSWICK DIVISIO N




UNITED STATES OF AMERICA

                                                        CASE NO . : CR205-3 7
                V.

JOSE REYES VILLALOBOS
ROMAN GUERRA
JOSE VARGAS
ANGEL MORFIN
JOAQUIN MEJIA
SUZANNA CARISOS A
LAURA DAVENPORT
BRIDGETTE REYNOLDS
JEREMY THOMPSON
ALMA MARIE WILLIAMS
KATHERINE CRAPPS




                                          IN RE : LEAVE OF ABSENC E


        Application for Leave of Absence has been requested by John B . Brewer, III, Attorney

for Defendant Davenport, for the periods of April 21, 2006, through May 1, 2006 ; May 22,
2006, through June 12, 2006 ; and October 9, 2006, through and including October 25, 2006,

in the captioned case .

        The above and foregoing request for Leave of Absence is APPROVED ; however, the

attorney must make arrangements for other counsel in the event the case is scheduled for
hearing or trial .

        SO ORDERED , this cTa-y of March, 2006 .


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                                                  AMES E . GRAHA M
                                                 UNITED STATES MAGISTRATE JUDGE
